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IN THE UNITED STATES DISTRICT COUR$I`(

 

FOR THE EASTERN DISTRICT OF TEXAS sF l L E D
BEAUMONT I)IVISION €*ST°EH'?B*T§?A?E$SH'T‘ZXAS
SEP ~ 6 2002
) B DAV|D J D CLER
J0HN WILLIAM KING, ) D;PU ' "~
Petitioner )
)
v. )
) Civil Action No. 1:01 CV-435
JANIE COCKRELL, Director ) Judge Richard A. Schell
Institutional Division, )
Texas Department of )
Criminal Justice )
Respondent )
)

 

PETITION FOR WRIT OF HABEAS CORPUS

VOLUME 1
PAGES 1-184

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
BEAUMONT DIVISION

 

JOHN WILLIAM KING,
Petitioner

v.
CIVIL ACTION NO. 1:01 CV-435
JANIE COCKRELL, Director Judge Richard A. Schell
Institutional Division, '
Texas Department of
Criminal Justice

Respondent

VV\/\./v\/VV\./\./V

 

PETITION FOR WRIT OF HABEAS CORPUS

TO THE HONORABLE UNITED STATES DISTRICT IUDGE:

Petitioner John William King is currently confined in the Polunsky Unit of the Texas
Department of Criminal Justice, Livingston, TeXas, inthe custody of the Respondent, Janie
Cockrell, Director of the Institutional Division of the TeXas Depart:ment of Criminal Justice.
Mr. King is confined in violation of the Constitution and laws of the United States, and files
this Petition for a Writ of Habeas Corpus pursuant to 28 U.S.C. §2254 et. seq. in order to
secure the reversal of his capital murder conviction and sentence of death, and for his release
from confinement

In support thereof, Mr. King Would show the following:

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/" /`\'

I. n
JURISDICTION AND PROCEDURAL HISTORY
Mr. King invokes the jurisdiction of this Court pursuant to 28 U.S.C. §2254 et. seq.
Petitioner is a citizen of the United States and a resident of the State of Texas.
Petitioner is indigent and is unable to provide funds for any aspect of his
representation, and has been granted in forma pauperis status by this Court. He is currently
unlawfully incarcerated by the TeXas Department of Criminal Justice, Institutional Division,

on death row at the Polunsky Unit in Livingston, Texas. Mr. King was indicted for capital

murder in violation of Tex. Penal Code Ann. § 19.03(a)(2) (Vernon Supp. 1986) on October
30, 1998. Tr. 4.1 2 He Was convicted of capital murder (Tr. 248) and sentenced to death on
February 25, 1999, in the 1St Judicial District Court of Jasper County, Cause No. 8869,
Judge Joe Bob Golden presiding Tr. 291, 293 -96.3 On direct appeal, the Texas Court of
Criminal Appeals affirmed the conviction and sentence on October 18, 2000 in Cause No.

73, 433. King v. State, 29 S.W.3d 556 (Tex. Crim. App. 2000).4

 

l See Exhibit l, Indictment in State v. John William King, Cause No. 8869, filed
October 30, 1998 in the District Court of Jasper County.

2The transcript (Clerk’s Record) of the proceedings in this case Will be designated as
“Tr.” With the page number following The state habeas corpus transcript Will be designated
“Habeas Tr.” The Reporter’s Record Will be designated as “RR” With the number of the volume
to the left and the page number to the right

3 See Exhibit 2, Verdict, Judgment and Sentence of Death, State v. King, Feb. 23 and
25,1999_

4 See Exhibit 3.

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1 ,/

Mr. John Heath, Esq. was appointed to represent Petitioner in his state Writ
application Petitioner filed a timely state application for post-conviction writ of habeas
corpus in state court on July 5, 2000. Habeas Tr. at 2-28.5 The initial filing in this matter
Was the writ itself, with no requests made for expert or investigative assistance Petitioner
refused to sign the perfunctory writ application when it was presented to him. Habeas Tr.
at 28. Mr. King filed with the trial court numerous letters, motions and requests advising
them of the inadequacy of his representation, asking to proceed pro se, showing the existence
of a conflict of interest, and asking for alternative counsel Who would investigate his claims.6
The State filed their answer to petitioner’s Writ application on December 20, 2000. Habeas
Tr. 87-176. On January 8, 2001, the trial court issued an order determining that there were
no controverted factual issues, and ordered both parties to file their proposed findings of fact
and conclusions of law within 30 days of the order. Habeas Tr. at 86. Petitioner’s attorney
disregarded this order and failed to file any proposed findings of fact and conclusions of law.
The State did file their proposed findings and conclusions on February 7, 2001. Habeas Tr.
at 177-201, A mere two weeks later, the trial court simply signed off on the State’s
proposed findings and conclusions without altering a comma, and adopted them as their

own.7 Habeas Tr. at 200. This application f`or relief was denied by the TeXas Court of

 

5 See Exhibit 8, Application for a Writ of Habeas Corpus By A person Sentenced To
Death.

6 See Exhibit 10, Communications to trial court from petitioner Habeas Tr. 37-79

7 See Exhibit 9, State’s Proposed Findings of Fact and Conclusions of Law, adopted
verbatim by the trial court. Habeas Tr. 177-201.

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f t / w

Criminal Appeals on June 20, 2001. Ex Parte John William King, No. 49,391-01

(unpublished opinion).8 No evidentiary hearing was held in the state habeas proceedings
On June 28, 2001, Petitioner applied to this Court for appointment of counsel pursuant

to 21 U.S.C. §848(q)(4)(B) and McFarland v. Scott, 114 S. Ct. 2568 (1994). On July 17,

2001, undersigned counsel was appointed for Petitioner. This is Mr. King’s first application

for federal habeas corpus relief.

Under the guidelines established by the Antiterrorism and Effective Death Penalty Act
of 1996 (“AEDPA”) Mr. King’s petition for writ of habeas corpus was originally due on or
before June 19, 2002. By its Order Granting in Part Emergency Requests for Equitable
Tolling, filed on March 18, 2002, this Court ordered the statute of limitations for the filing
of Mr. King’s petition tolled, and ruled that it shall be considered timely filed if filed on or
before August 19, 2002. Thus, this petition is timely filed.

II. 7
FACTUAL BACKGROUND

A) Pre-trial.

Mr. King was arraigned on November 24, 1998 in the First District Court of Jasper,
Texas, Hon. Joe Bob Golden presiding He was charged with capital murder under §

19.03(a)(2) of the Texas Penal Code for “intentionally while acting together with Lawrence

 

8 See Exhibit 4. The Texas Court of Criminal Appeals did not adopt the trial court’s
conclusion that the claim of ineffective assistance of counsel was waived by failing to raise it on
direct appeal and the conclusion that trial counsel’s failure to investigate and present an alibi
defense could not be relitigated on habeas corpus. Exhibit 4 at p. 2.

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Russell Brewer and Shaun Allen Berry and while in the course of committing or attempting
to commit kidnapping (sic), of J ames Byrd, Jr., did cause the death of James Byrd, Jr. by
dragging him on a road with a motor vehicle.” Tr. at 4.9 Representing the State throughout
this matter were Mr. Guy J ames Gray, District Attorney of Jasper County, his deputy Mr.
Patrick Hardy and two federal prosecutors, Mr. John Stevens, and Mr. Jim Middleton; for the

defense were court-appointed counsel Mr. C. Haden Cribbs and Mr. Brack J ones 2 RR 1.

Petitioner was indicted by a grand jury for capital murder and pled not guilty. 2 RR 3. There
was no written transcription of the grand jury proceedings 3 RR 103.

i) Motion for change of venue.

On December 14, 1998, the trial court heard the defense’s motion for a change of
venue. 3 RR 2.10 Newspaper accounts of the murder were received in evidence. The
defense called Nelda Woods, a resident of Jasper, Texas, who stated that she did not think
Mr. King could get a fair trial in Jasper because of the extensive publicity. 3 RR 11.
Property taxes have risen because of the trial expenses 3 RR 12. Randy Walker, an
attorney in Jasper; the original attorney appointed for petitioner, also testified that he did not

think Mr. King could get a fair trial, due to the extensive publicity. 3 RR 21. People in other

 

9 See Exhibit 1, indictment of Petitioner

10 The motion for change of venue is included herein as Exhibit 5, as an example of the
extremely perfunctory motion work done by the defense in this case. Although many motions
were filed, most were only one to two pages in length. As to the change of venue motion, about
one page in length without the required affidavits it gave no specific factual or legal grounds in
support of the request The entire transcript which includes all defense and prosecution motions,
proposed charges and court orders, is only a little over 300 pages, extremely short for a Texas
capital murder case.

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counties would care less about “the effect this crime has had on the reputation of this
community; and [they] ...would care less about how this crime may affect Jasper
economically in the future.” 3 RR 22. His impression was that there Was a “real anger here
in this community about this crime.” 3 RR 26. SheriffBilly Ernest Rowles, Sr., the sheriff
of Jasper County, testified that in his opinion, the petitioner could receive a fair trial in
Jasper. 3 RR 32. The sheriff had made statements that, in his opinion, it was a racial hate
crime. 3 RR 34. No other case in his experience had as much media coverage of federal
involvement 3 RR 37-38. Senator Kay Bailey Hutchison, Rev. Jessie Jackson and Al
Sharpton were at the victim’s ftmeral. 3 RR 39. In his opinion, Jasper County was
undergoing a healing process11

Walter Gene Diggles, executive director of the Deep East Texas Council of
Governments, testified that he thought Mr. King could receive a fair trial in Jasper. 3 RR 47 .
Kathleen Hawkins, whose husband owned a drugstore in Buna, Texas, and was active in
Democratic Partypolitics, testified that she thought a fair jury could be picked here in Jasper.
3 RR 53. Harold Lee Kennedy,~ a probation officer and former judge, also thought that a
fair jury could be found in Jasper. 3 RR 59. Judge Joe Folk, a county judge of Jasper
County, testified similarly. 3 RR 65. This case had received more publicity than any other
he had seen during his tenure. 3 RR 67 .

At the conclusion of the evidence, the defense offered no argument on the motion for

 

11 As shown herein, the glare of publicity and the desire of this town to “heal” in fact
made a fair trial for petitioner impossible in Jasper.

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change of venue. 3 RR 70.

The defense also stated that at this time, it had no present plans to have Mr. King
interviewed by a psychiatrist 3 RR 73. The prosecution stated that they intended to call Dr.
Edward Gripon at the punishment phase of the trial. 3 RR 73 .12 The defense also stated that
there was no intent to seek an insanity defense 3 RR 74. The prosecution agreed that they
would notify the defense if any deals were made with prosecution Witnesses. 3 RR 76, The
State agreed to give the defense any exculpatory information on witnesses, with the
exception of any rebuttal witnesses, and the Court granted this motion. 3 RR 77 -80, 89. A
defense motion to inspect and test physical evidence was granted and the State agreed that
they would honor their obligations to tum over favorable evidence under Braa§/ v. Maryland,
373 U.S. 83 (1963). 3 RR 85, 87.

As an indication of the degree of federal involvement in this case, about 200 FBI
agents were talking to people “that may or may not have provided something helpful to the
defendant.” 3 RR 86. On the morning of this motion hearing, Federal prosecutors were
sworn in as assistants . 3 RR 87 . The defense stated that it “may be necessary then to make
a motion for continuance at a later date to postpone a January tentative trial date because We
don’t have information, we don’t have the funds of the FBI to chase down every lead across
the country, across the State of Texas.” 3 RR 88.

ii) Motion to recuse trial judge.

 

12 Thus the defense had notice well before the trial that this “psychiatric” testimony was
to be offered by the State at the punishment phase of the trial.

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On January 6, 1999, Hon. Patrick Clark presided over the defense’s motion to
disqualify the trial judge. 4 RR 4. Hon. Joe Bob Golden refused to disqualifyhimself. 4 RR
4. The defendant did not want to appear and defense counsel proceeded without him. 4 RR
5. Mr. King did not appear because he said his attorney was “a piece of shit” and was
dissatisfied with his representation 4 RR 6-7.

Judge Joe Neal Folk testified that, as a result of this case and other capital cases
pending in Jasper County, property taxes had to be raised about ten percent (from 39 cents
per hundred dollars valuation to 43 cents). 4 RR 9-10. The motion to recuse Was made on
the basis that Judge Golden was a property owner in Jasper County. The average tax raise
was about $5. 10 per citizen of the county. 4 RR 17 . The motion to recuse was denied, and
the petitioner’s counsel noted their exception under the due process clause and the Texas
Constitution. 4 RR 23.

iii) Additional pre-trial proceedings

Defense counsel Mr. Cribbs also filed a motion to Withdraw as petitioner’s counsel,
based on personality conflicts 5 RR 5; Tr. 143-44.13 Mr. King told the court he had “written
numerous letters explaining the situation” to the court and the court had received two of
them. 5 RR 5. The motion to withdraw Was denied, 5 RR 6.

B) Jury selection.

Jury selection began on January 25, 1999, in the First Judicial District Court of Jasper

 

13 See Exhibit 6.

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County, Texas. 6 RR 3 .14 Prior to jury selection, there had been rallies in Jasper by the Ku
Klux Klan and the Black Panthers, and many if not all of the prospective jurors were aware
of that See, e.g., 9 RR 57. During jury selection, “[i]t was a media circus getting into this
courthouse...” 9 RR 38.15
Both sides announced ready for trial. 6 RR 3. The State, in its opening statement

outlined their theory of the case. 6 RR 23. The prosecutor claimed the victim, J ames Byrd,
Jr. was walking on Martin Luther King Drive in the early hours of June 7, 1998, when he was
picked up by three whites in a pickup, driven around and then to the Huff Creek Road, and
then on a logging road. 6 RR 23 -25. There was allegedly a scuffle in a clearing, and then
the victim, while still alive was chained to the pickup and dragged to his death. 6 RR 25 -26.

The prosecutor, in his initial statement to the jury panel, noted that there had been
a lot of media coverage of the case, including what the court termed an inaccurate report in
T ime magazine that armed militia camps in Jasper County produced 200 soldiers a year to
work for white supremacists 6 RR 32. The prosecutor also mentioned that newspaper
accounts said that Bill King’s cigarette lighter was found at the scene of the crime, but the
“crime scene was spread out over three miles...[and the lighter], someone could have left it
on the fender and it fell off as you’re driving down the road.” 6 RR 33. The State also

commented on Mr. King’s tattoos in this preliminary statement “are we talking

 

14 On January ll, 1999, a gag order was imposed on the district attorney’s office. 5 RR

15 The trial court ruled that no photographs were to be taken of the members of the jury.
6 RR 28.

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about..somethjng that’s more defining of his mind-set and how he thinks?” 6 RR 34.

The prosecutor also commented on the death penalty: “I ’m not a great fan of it myself,
but there are times and circumstances where it seems to me to be the only appropriate and
right sentence.” 6 RR 35. The prosecutor then asked the jurors to think about how they felt
about the death penalty. 6 RR 36. The defense, in their initial statement to the jury panel,
stated that “it’s also your right not to believe in the death penalty.” 6 RR 49.

Many prospective jurors commented on the fact that the community was biased
against petitioner and that there was a feeling that he should be sentenced to death. See, e. g.,
8 RR 166-67; 9 RR 19-20. Other prospective jurors commented on the fact that there was,
in the Jasper community, a feeling of “hang them high” toward the defendants One of the
prospective jurors, Mr. Tommy Reeves, had heard the crime was drug-related 14 RR 41.
Another pro spectivejuror, Mr. S amuel Hennington, had a misdemeanor theft conviction that
he did not tell anyone about and he was excused. 15 RR 5.

Details of the jury selection process are discussed in more detail, supra, in the relevant

individual issues The jury was chosen on February 10, 1999. 16 RR 1-16.16

C) Trial.
Mr. King’s trial began on February 16, 1999. Various pre-trial motions were ruled

upon first Defense counsel renewed their request for a change of venue, based on daily

 

16 During the trial, United States Attorneys Michael Bradford, J im Middleton and John
Stevens were assisting the State at counsel table. 6 RR 42.

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publicity in the local and Houston newspapers 17 RR 2. The trial court denied this motion.
17 RR 3. The prosecution removed the words -“and knowingly” after the word
“intentionally.” 17 RR 6. A defense motion in limine to exclude various extraneous crimes
was overruled 17 RR 7. The jury Was sworn and admonished 17 RR 8-10.

King was charged in a grand jury indictment that on or about June 7, 1998 he acted
together with Lawrence Russell Brewer and Shawn Allen Berry “and while in the course of
committing or attempting to commit kidnaping of J ames Byrd, Jr., did cause the death of
J ames Byrd, Jr., by dragging him on a road with a motor vehicle against the peace and

dignity ofthe state.” 17 RR 10-11.17 King pled not guilty to the charge. 17 RR 11.

i) The opening statement bv the State.

Mr. Guy J ames Gray, Jasper County District Attomey, gave the opening statement for
the State. 17 RR 11-17. King, Berry and Brewer allegedly lived together at the Timbers
Apartments in Jasper.18 According to one witness, Keisha Atkins, on the morning of June
7, 1998, they left their apartment at about 1:30 or 1:45 AM. 17 RR12. AllegedlyBerrywas
driving, Brewer was in the center, and King was on the right 17 RR 12. Another witness,
will establish that the victim Mr. J ames Byrd was in the back of the vehicle at about 2:30 or

2:45 AM, the prosecutor argued 17 RR 12.

 

17 Also see Exhibit l, Indictment.

18 Later testimony also showed that Berry’s brother, Lewis Berry, also lived in the
apartment and stored clothes there.

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A cigarette lighter with the word “Possum” on it and a triangular symbol that is three
K’s put together and two S ’ in the form of a lightening bolt was allegedly found at the scene
of the crime. 17 RR 12-13.19 A tool with “Berry” engraved on it was found at the scene of
the crime. Id. The tire treads allegedly matched Berry’s truck, the State argued, and fibers
from Byrd’s clothing were found in the truck 17 RR 13. Spots of blood that matched
Byrd’s were found undemeath the truck. Id.

From the apartment there were three pairs of shoes that allegedly belonged to these
men, with tiny specks of blood on them, and the blood matched Byrd’s. 17 RR 13-14.20 Mr.
Gray argued that there were cigarette butts found at the crime scene with the suspects’ DNA
on them. 17 RR 14. One beer bottle found at the scene had Brewer?s DNA on it. Id.

Motive Will be established “by friends and acquaintances, by the things Bill King has
said to friends” (17 RR 14) and King’s tattoos, according to the State. Id. Mr. Gray added
that King belongs to a group called the Confederate Knights of America. 17 RR 14.

The prosecutor argued that “[h]e’s also a Neo-Nazi”, and has the Nazi swastika
tattooed on him, and a tattoo of a black man hanging from a tree. Id. He has the word
“Satan” tattooed on his body. Id. Other tattoos reflected his hate and anger, according to
the prosecutor Id.

According to the State, a third area of motive will be established from writings found

in his apartment that show his intention to form a hate group in Jasper, Texas. 17 RR 15.

 

19 “Possum” was King’s nick-name in prison. Id.
20 This was incorrect as blood was not found on all three pairs of sandals.

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King allegedly had the constitution, by-laws, code of ethics, and membership applications
17 RR 16. “His group was to be called the Texas Rebel Soldier Division of the Confederate
Knights of America.” 17 RR 16.

King wanted to do something dramatic to gain recognition for his group and to attract
new members, according to the prosecutor 17 RR 16. The State admitted that for this to
be a capital offense, there has to be a kidnaping, and that the victim was alive when he was
bound up. 17 RR17.

ln response to this, the defense made absolutely no opening statement but elected to

give it later. 17 RR 17.21

ii) The State’s case at guilt/innocence

Billy Ernest Rowles, Sr,. the sheriff of Jasper County, Texas, testified that he
received a call to go to the Huff Creek area on June 7, 1998, 17 RR 20. Some units had
found the head and torso of Mr. Byrd, and other units had located the lower torso. 17 RR 20-
21. The upper torso Was found close to a cement culvert in a ditch. 17 RR 21-22. A mile
further down the road the lower torso was found, near a wood frame church and a cemetery.
17 RR 22. They later found a billfold “on the path that someone was drug on.” 17 RR 23.
The billfold had J ames Byrd Jr.’s identification in it. 17 RR 24.

There was a massive amount of trauma to the body, and it appeared the body had hit

the culvert and the left shoulder and the head separated 17 RR 25. The sheriff thought the

 

21 No such statement was ever given by the defense

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body might have been dragged underneath a car as a result of a hit and run accident 17 RR
25. Rowles followed the trail for two or three miles, from where the upper torso was found
17 RR 26. The drag marks were outside the tire marks, which meant that the body had been
dragged 17 RR 27 . At this point Sheriff Rowles knew it was a murder. 17 RR 28. Tire
casts were then taken. 17 RR 31.

The investigators came to a place where there were good tire tracks, footprints and
a nut driver wrench. 17 RR 32. The word “Berry” was on the wrench. 17 RR 33. Not far
from where Byrd’s billfold was found, they found beer bottles, cigarette butts, a cigarette
lighter, a watch, a cap and other items 17 RR 33. The cigarette lighter had the word
“Possum” engraved on it along with a triangle with three K’s. 17 RR 36. Tennis shoes were
also found 17 RR 48. The grass was laid down there, and the ground had been disturbed and
it looked as if something had taken place there 17 RR 34. A call was made for the Jasper
Police Department for help with the crime scene investigation 17 RR 36, 50.22

The investigators thought several people were involved 17 RR 37. When they saw
the K...KK emblem on the cigarette lighter, they thought they had a motive 17 RR 37-38.
As a result of information they received, a grey step-side truck with three people in it with
Mr. Byrd in the back, was mentioned as possibly being involved 17 RR 38. Someone
drought of Shawn Berry, Who had a similar pickup truck 17 RR 39.

Berry was arrested in Jasper on a couple of traffic violations and taken to jail. He

 

22 In all, 10 or 12 law enforcement agencies were ultimately involved in the
investigation 17 RR 53_

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consented to a search of the truck, and the rest of the nut drivers that went with the tool set
were found, and blood was tested underneath the truck and it came back positive 17 RR 40.
The sheriff found out that Berry was living in an apartment with John William King and
Russell Brewer. 17 RR 40. Someone said that “Possum” was King’s nickname when he was
in prison. 17 RR 40, 81, 88. A search of the apartment was made, and some racial writings
were removed 17 RR 41.

The sheriff Went to the Beaumont office of the FBI on the day after the discovery of
the body. 17 RR 41, 52. The sheriff was “brand new” and “didn’t even know the definition
of a hate crime but l knew somebody had been murdered because he was black and it was
a bad murder.” 17 RR 41.

The defense objected to the introduction into evidence of pictures marked as State’s
Exhibit 1, as being irrelevant inflammatory and overly gruesome, under Texas Rules of
Evidence 40 1, 402 and 403. 17 RR 54, 66. Court overruled the objection, and ruled that the
pictures show intent motive and a state of mind 17 RR 56-57, 59. The jurors were each
given a copy of the pictures 17 RR 61. The sheriff described the pictures 17 RR 61-66.

Michelle Marie Chapman, eighteen years old, testified that she had known King
from before he Went to prison and exchanged letters with King when he was incarcerated
from 1995 through 1997. 17 RR 71-72, 84. Three letters were offered into evidence, but the
defense objected on the grounds that they related to extraneous matters, were irrelevant and
immaterial, and their probative value was outweighed by their prejudicial value 17 RR 74.

The letters Were admitted 17 RR 7 6.

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ln the letters, King says he has a tattoo of Woody Woodpecker in a Klansman’s
uniform making an obscene gesture 17 RR 79. There’s also a tattoo on the back of King’s
head; and another one with a black man hanging, on his arm. 17 RR 79. ln another letter
dated February 20, 1996, King talks about “[t]he niggers have this Muslims shit blood crips
and Black Panthers These ho ass spics have the Mexican Mafia. . . .us Aryans have the Aryan
Brotherhood, Aryan Circle, Confederate Knights of America, K.K.K., Aryan Legion, White
Knights, Confederate Hammer Skins, Skin Heads..” 17 RR 80. Chapman was 15 when she
received this letter. Id. Also in this letter, King states “lt’s my opinion that any race trading
(sic) bitch should be hung alongside the nigger she fucked. White is right” 17 RR 80. ln
the third letter, King stated “What do l have to look forward too [sic] in returning to Jasper?
A town full of race traitoring [sic], nigger loveing [sic] stupid and blind to the pride of their
race and heritage that they should be hung on the limb adjacent to their nigger loveing [sic]
man.” 17 RR 81. King also wrote, “Who knows, maybe the Jews and niggers will kill one
another before long.” 17 RR 81.

Chapman saw King when he was released from prison in June of 1997 . 17 RR 83. He
came to her house and he showed her his tattoos,‘and he seemed proud of them, including
the one of the black man hanging. 17 RR 83-84. He did not have the tattoos before going
to prison. 17 RR 84. Chapman gave the FBI all 19 of the letters King wrote while in prison.
17 RR 85. The letters became more racist while he was in prison. 17 RR 87. Chapman was
only a friend to King, and went out with him only once before he went to prison. 17 RR 85,

87, 88.

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Tommy Robinson, a Jasper County Sheriff’ s Department investigator, testified that
on the morning of June 7 , 1998 he received a call about a body on Huff Creek Road. 17 RR
90. There was a trail and a body was found that was missing its right arm head and neck.
17 RR 92. There was a laceration just above the ankle on each leg. 17 RR 93. The body
was nude, the underwear pulled down to the ankles 17l RR 93. State’s exhibit 6 (socks) and
8 (pants) were identified and admitted into evidence 17 RR 94-95.

The head and shoulders Were found about a mile back toward Highway 1408, at the
end of a culvert 17 RR 95. The witness thought that the body was severed when it hit the
culvert 17 RR 96. There was blood and flesh tissue on the trail that led from the logging
road. 17 RR 97.

Dentures (State’s exhibit 9) and a key ring (State’s exhibit 10) were determined to
have belonged to J ames Byrd, Jr. 17 RR 100-101. The keys were determined to belong to
Byrd because they fit his door and mailbox. 17 RR 101.

The old logging road intersected with Huff Creek Road. 17 RR 103. Huff Creek
Road is off Farm Road 1408, a left turn off 1408. 17 RR 158. The investigators Went up the
logging road and found a can of “FixA Flat” (State’s exhibit 12), shoes (State’s exhibits 13
and 16) and shirts (State’s exhibit 14 and 15). 17 RR 103-110.23 They also found a

“longneck” bottle of beer (State’s exhibit 17) and a nut driver with “Berry” written on it

 

23 These exhibits were tagged and bagged by the FBI. 17 RR 17 RR 10. The defense
objected to the bag identification being received as evidence and they were admitted minus the
accompanying written tags 17 RR 108.

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(State’s exhibit 18). 17 RR 110-114.24 Casts of tire tracks were made (State’s exhibit 19 and
20) and an impression of a shoe print near where the nut driver was found (State’s exhibit
21) 17 RR 114-117. The wallet (State’s exhibit 22) and a wristwatch (State’s exhibit 23)
were also introduced in evidence 17 RR 117-119.

When they found the watch, they came to a scene where the grass was beaten down
and some underbrush broken. 17 RR 121. Fragments of a cigarette butt were found at the
scene (State’s exhibit 26); a female’s Watch (State’s exhibit 27 ; 17 RR 124-125); a black
paint spray can (State’s exhibit 28; 17 RR 127); and a cigarette lighter (State’s exhibit 29;
17 RR 128). Mr. Robinson identified the lighter as belonging to King. 17 RR 129. A button
was also found, which came from one of the shirts found earlier. (State’s exhibit 30). 17 RR
129-130. The wrench and cigarette butt (State’s exhibit 31) and a cigarette pack (State’s
exhibit 32) and the torque wrench (State’s exhibit 33) were found at the “fight” scene 17
RR 132.25 A ball cap with “San Francisco” on it belonging to the victim, was also found at
the scene (State’s exhibit 34).17 RR 133-34.

Robinson photographed the area around the body. 17 RR 140. The FBl came in
subsequently and picked up some items 17 RR 147. There were three or four other beers

bottles and a CD that were not introduced 17 RR 147.26 Robinson did not dust“for

 

24 The nut driver was not found near the “fight scene.” 18 RR 197.

15 The term “fight scene” was not based on any personal observation of a fight 17 RR
145.

16 Lewis Berry’s fingerprint was found on the CD. 18 RR 134, 136.

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fingerprints on these items of evidence 17 RR 150. No other cigarette butts were recovered
17 RR 152.

George Matathay, a small businessman in Jasper who ran “Billy’s Old Fashioned
Barbeque” near the courthouse, testified he saw Mr. Byrd on the evening he was killed 17
RR 164, 172. He was attending an anniversary party which was also attended by Byrd. 17
RR 166. Byrd was wearing a cap and jacket and a long sleeve shirt and tennis shoes 17
RR 167. Matathay left the party at about 1:30 or 1145 AM, and Byrd asked for a ride and
the witness told him his truck Was at home, and he didn’t want to offer Byrd a ride because
Matathey had been drinking too much. 17 RR 168. A friend dropped him off at Bowie
Street and they passed Byrd Walking down Bowie Street alone 17 RR 168.

The party was on the west side of town, at Jimmy Maze’s house 17 RR 171.
Everyone Was drinking at the party. 17 RR 171. Matathay had caught a ride over to the
party with Samuel Williams and arrived at about 10:30 or 11:00 PM. 17 RR 172. Byrd was
drinking but he wasn’t intoxicated, but he usually gets pretty drunk. 17 RR 17 3.

Steven Scott testified he had been at a club in Beaumont with a friend, and on the
night of June 7“‘, at about 2: 15 or 2:30 AM he was driving home to his residence on Martin
Luther King Drive after dropping the friend off. 17 RR 177-78. Scott saw Byrd, whom he
knew, and thought about picking him up, but didn’t because his conscience told him not to.
17 RR 179. This was about a half-mile from the church, about a quarter mile from the
Ramada lnn. 17 RR 187. lt looked like he had been drinking 17 RR 179. Scott arrived

home at about 2:30 AM. 17 RR 180. As Scott’s mother opened the door, he saw Byrd

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passing by on the back of a truck, an old model step-side pickup, probably gray. 17 RR 180,
183. The three people in the truck were white 17 RR 181-182. One appeared to have long
hair. 17 RR 182.27

Scott talked to the police the next day. He identified the truck in state’s exhibit 35 as
looking like the truck he saw that night 17 RR 184. Scott had seen the person who worked
at the movies, Shawn Berry, around town 17 RR 184-85.

Mary Verrett the sister of the victim, who lived in Houston, testified that she was
giving a bridal shower for her niece, and Byrd came over in the afternoon to help decorate
the building 17 RR 192. Byrd changed into some clothes Verrett had brought for him,
including the baseball cap. 17 RR 193. She identified the shirts, the watch, and the NBA
jersey Byrd Was wearing When he died 17 RR 194. The last time she saw Byrd was about
5:30 or 5:45 PM at their parent’s house, when she left for Houston. 17 RR 195.

Byrd was disabled as he had seizures that required medication 17 RR 196. He
received a government check for the disability. 17 RR 197. Byrd used to live with his
parents but had his own apartment 17 RR 197. Ms Verrett had seen him drunk before 17
RR 197.

Ralph Nichols, a constable in Precinct 2, Jasper County, talked with King in the early
morning hours of J une 8, 1998, and received a signed consent to search his apartment (state’s
exhibit 3 8). 17 RR 200. King had been read his Miranda warnings and understood them. 17

RR 201 . King had told Nichols he could search the apartment and King said he had nothing

 

27 Brewer had long hair. 18 RR 9.

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to hide 17 RR 202. King lived at the Timbers Apartments, on the south side of 190 right
across from Wal-Mart. 17 RR 202.

Exhibits 39 through 41 were offered into evidence, although the defense did not know
What they Were 17 RR 204-07. The court admitted state’s exhibit 41 for the limited
purpose of determining motive or intent or state of mind 17 RR 212. State’s exhibit 42,
photos of tattoos, was admitted over defense objections of due process and First Amendment
violations 17 RR 214. State’s exhibit 43, the K...KK book, was also admitted 17 RR 214-
15.28 They Were all found in King’s apartment 17 RR 215, 217, The court admitted them
for the limited purpose of determining the defendant’s state of mind, intent or motive, but
declined to make the instruction that they needed to be believed beyond a reasonable doubt
17 RR 2 1 8- 1 9.

The initials “L.B.” were on one of the shoes, which could have stood for Lawrence
Brewer or Lewis Berry, Shawn Berry’s brother who was also staying at the apartment 17
RR 222, 225. Some “longneck” bottles of Coors Light and Bud Light were found in a
cooler. 17 RR 222, There was a defense objection to exhibit 48, a picture found at the
apartment on the grounds that it was protected by the First Amendment but this was
overruled 1 7 RR 223. No fingerprints were taken from the apartment 17 RR 226. lt was

the Witness’ opinion that a notebook, photo album, and black sandals belonged to King 17

 

21 The Ku Klux Klan book was checked out of the Jasper High School Library on
January 13, 1 986. 17 RR 245. The book was actually a critical history'entitled “The Ku Klux
Klan, A Century of lnfamy” by William Pierce Randel. This was never mentioned by the
deRnBe.

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RR 232-33.

Joe Sterling, an investigator with the Jasper County Sheriff’ s Office, took part in the
search of King’s apartment on June 8, 1998. 17 RR 234. He took the photo album, a green
Mead notebook, a green Ku Klux Klan book, and a red Lamar folder into his custody. 17 RR
236, State’s exhibit 49 depicts three Klansmen riding on horses, a noose, a man with a suit
with a gun and K.K. on the front and kneeling black people 17 RR 239. The defense
objected to the tattoo evidence coming in, under First Amendment grounds, but that was
overruled 17 RR 241

State’s exhibit 50 Was an application to the Confederate Knights of America, signed
by John W. King, captain of the Confederate Knights of America, Texas Rebel Soldiersl 17
RR 242. lt states that Texas Rebel Soldiers was started on July 4, 1998, but King was in jail
then. 17 RR 243. King signed himself as the president of the Confederate Knights of
America. 17 RR 244. King hoped to begin a chapter of the Confederate Knights of America
in Jasper, according to this Witness. 17 RR 244.

Rich Fo rd, a detective with the Jasper Police Department testified that he was
dispatched to the arrest of Shawn Berry on June 7, 1998, 18 RR 3. Berry was stopped at
Green Tree Plaza right off Highway 96, for an expired registration 18 RR 4, 13. There was
also information that a truck matching the description of Berry’ s might have been used in the
murder. 1`8 RR 4. Berry’s truck was turned over to the FBI. 18 RR 11. F ord also
photographed King for the identification of his tattoos

Keisha Atkins, age 21, testified that she worked for Security Finance in Woodville,

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and knew King for eight or nine years 18 RR 16-17. She was in a common-law marriage
with another man, whose child she was carrying 18 RR 38. Before King’s arrest she had
not seen him for a few years but had talked to him on the phone 18 RR 18, King called
when he got out of the penitentiary, and they called each other for a few weeks before he Was
arrested. 18 RR 18. On Saturday, June 7, 1998 she had come to Jasper because King had
asked her to. 18 RR 19. She arrived at his apartment at about 10:30 PM, and Brewer was
also there 18 RR 20. King showed her his tattoos and was drinking beer with Brewer. 18
RR 20. While Atkins was at the apartment Kylie Greeny, King’s girlfriend, came to the
door twice, but was not allowed to come into the apartment 18 RR 21. Atkins smoked some
Marlboro Reds with King and noticed his lighter with “Possum” on it 18 RR 44. Berry
came to the apartment later. 18 RR 24.

Atkins did not receive King’s prison letters because she had moved and her mother
intercepted them. 18 RR 22. King was wearing scandals that night identified as exhibit 45-
B. 18 RR 23. Atkins left the apartment about 1230 or 1:45 AM. 18 RR 24.29 All three men
got into Berry’s truck and left the parking lot 18 RR 25. Atkins thought Berry was driving,
Brewer was in the middle, and King was on the passenger side 18 RR 26. They said they
were going to meet some girls 18 RR 34. The witness did not remember if King left wearing
sandals, although she gave a statement to that effect 18 RR 46. King may have been

smoking when he left and could have put the butt in the truck ashtray. 18 RR 48.

 

” hhmmmmmmmmwdmewJmewmmmdwwdmkMKMOOMWbm
changed the time estimate when the FBI later told her that some policemen she had seen who
had pulled over a motorist had done that earlier than her first estimate 18 RR 30-31; 42-43.

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Atkins had a romantic relationship with King when she was younger, and she thought
he was a pretty nice guy. 18 RR 27. Before King went to prison, he did not espouse any
racial sentiments at all. 18 RR 27 . Atkins did not know whether there was another pair of
sandals in the apartment and was only shown a picture of the sandals, not the actual shoes

18 RR 32. According to the witness, Lewis Berry also occasionally stayed at the apartment
18 RR 33.

Atkins talked with King later that night at about 5 or 5 :30 AM, by telephone 18 RR
35. He was in a normal mood, and didn’t seem excited 18 RR 36. King called her the next
night around midnight and said he wanted to see her. 18 RR 37. Atkins had the impression
that if she had stayed at the apartment King would not have left with the others 18 RR 39.

Kenneth Kempf, a special agent with the FBI, was the team leader of the agents who
went to King’s apartment at 801 West Gibson, Apt 214, to conduct the search pursuant to
the search warrant 18 RR 51.30 They entered the apartment at 9:30 AM on June 9‘1`. They
recovered a pair of Polo boots, size 9D, in the bedroom, some 20 photographs some of
which depicted tattoos31 18 RR 53-60. There were also a pair of dark brown sandals, size
9 and a half, that were found in the bedroom, and marked as State’s exhibit 55 and 56. 18

RR 60-61. Similar sandals, size 10, Were marked as State’s exhibit 45. 18 RR 61.

 

30 Originally, there was a tentative list of about 60 FBI agents who might testify in this
case 18 RR118.

31 The defense had an ongoing objection to the tattoos as protected by the free
association clause of the First Amendment and the equal protection due process clause of the
Fourteenth Amendment See, e.g., 18 RR 5 8.

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Numerous papers with King’s name on them were seized which were objected to by the
defense but admitted 18 RR 62. They found two wallets in the apartment 18 RR 91. King
had three driver’s licenses and two were expired 18 RR 91.32

This witness was also out at the logging road the day before he was at King’s
apartment 18 RR 66. There was a brown substance in the dirt and sand of the road that had
soaked in 18 RR 67, 79. Some of this was swabbed as evidence 18 RR 81. The dragging
began about 50 feet from the clearing in the grass 18 RR 68, Kempf walked the distance
from the original discovery of the torso back to the logging road area, and then down the
logging road to the clearing site 18 RR 73.

Tim Brewer, an FBI agent with the Beaumont Texas office, testified that he went
into the apartment on July 16, 1998, a month after the murder, because a witness statement
had identified some clothing Berry Was wearing on June 7, 1998. 18 RR 103. This time the
landlady, Mrs. Clark, let them in, as the apartment was vacant after an eviction notice had
been served 18 RR 105. There Was abrownish substance on some Ralph Lauren Polo jeans
that might be blood, and a long sleeve denim shirt 18 RR 107.

He later found out that King’s shoe size was nine and a half and Berry’s was a size
nine. 18 RR 111, 127. Brewer was a size seven 18 RR 112. Lewis Berry was a size ten

18 RR 124, 131.33 On June 8, Brewer’s foot was severely bruised and he had trouble

 

32 All the evidence, which filled a U-Haul trailer, was taken to Houston. 18 RR 96-98.

33 The sandals that had blood on them, exhibit 45, were size 10 sandals. 18 RR 61.
However, it was determined that King’s shoe size was nine and a half, and similar-brand size
nine and a half sandals were also found in the apartment (State’s exhibit 55 and 56) that did not

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walking 18 RR 113. To his knowledge, there Was consent for agent Kempf s search. 18
RR 117. Christie Marcontell, Shawn Berry’s girlfriend, and Lewis Berry were at the
apartment trying to have the contents released to them, in particular a television 18 RR 120.
Lewis Berry was eliminated as a suspect because of an alleged alibi. 18 RR 135.

Curtis Frame testified he was with the Jasper County Police Department on June 7,
1998, when he responded to a call for assistance 18 RR 138. He went to the Huff Creek
Road area where he saw the right arm and shoulder and head of a black male 18 RR 139.
His opinion was that the body had been dragged 18 RR 140-41. Tire casts Were made 18
RR 144. He later took fingerprints of the victim and determined that he Was J ames Byrd, Jr.
18 RR 146.

At the clearing he saw beer bottles, a Marlboro cigarette pack, a lighter, two watches,
a torque wrench, and blood in the dirt 18 RR 149. Frame had no doubt that the body was
drug down the logging road and it ended up at the cemetery. 18 RR 150.

The search of Berry’s truck turned up some tools of the same brand found at the crime
scene, and a blood stain 18 RR 154. There was a tire track that was near the Faulks’ home
18 RR 160-61. No hair or blood samples were taken from the culvert 18 RR 170. There was
a heavily-stained area of blood between where the head and the torso were found 18 RR

173. The evidence was bagged and tagged at the scene of the crime 18 RR 176-80.

 

have any blood on them. 18 RR 61. Lewis Berry, who frequented the apartment and had
clothing there, was a size ten 18 RR 124, 131. Thus, the size 10 sandals with the victim’s blood
on them, the major incriminating evidence against the petitioner, were not even King’s size, and
this was never challenged by the defense, nor was the jury ever informed of this fact

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Evidence was first collected from the road, then the truck and then the apartment 18
RR 187. There Were some items from the apartment that were not turned over to the FBI,
including a roll of rope, a pistol, a Buck knife, a letter to Shawn Berry, VHS tapes and food
receipts 18 RR 189-90. The state took blood samples from all defendants 18 RR 201-02.
Mark Young, an FBI agent testified he directed the team searching the truck
involved in this case 19 RR 29-30. Several items were identified, such as stains that
appeared to be blood, and tissue 19 RR 33-34. The truck tires were taken'into evidence, the
left rear wheel of the truck, a floor mat from the interior of the truck. 19 RR 35-39. There
were blood spatter stains underneath the truck. 19 RR 40. There Were also indications that
a chain had been in the back of the truck. 19 RR 41. The tailpipe of the truck was
introduced into evidence (19 RR 43). All the evidence was sent to Houston. 19 RR 49-50.
Sterling Linbaugh, an employee of the Jasper Exxon gas station, testified that on
June 7, 1998, at about 6 PM a man, identified as Shawn Berry, and a woman came in to have
a flat tire changed 19 RR 91, 95. They drove up in a Grand Prix and had a truck tire in the
car. 19 RR 92. They drove off with the new tire and the old one was put in a junk pile behind
the station 19 RR 92. Later that evenjng, Linbaugh was asked to retrieve the tire by the
Jasper County Sheriff’ s Office 19 RR 93. J ames Havard, a Jasper County Sheriff’ s Dept.
investigator, received the tire from the Jasper Exxon station, and later released it to the FBI.
19 RR 187-88.
Ben Meyers, an FBI agent testified he went to the crime scene where the body was

discovered, and found a cigarette butt about half a mile onto the logging road, from the

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intersection of Huff Creek Road, about 20 or 25 yards west of the scuffle area. 19 RR 100-
101, 107,

Deborah Ganaway, an FBI agent in the Houston office, testified she was involved
in collecting evidence in Jasper. 19 RR 113-14. Some of the evidence was forwarded to
Houston and some on to the FBI lab in Washington, D.C.

Agent Ganaway was personally involved in the search of the crime scene roads and
transported some of the evidence to Houston. 19 RR 118-119. She also took swabs Which
were introduced into evidence 19 RR 121-122. There were also stains in the road which
were tested for blood. 19 RR 123. Some tests were made in the area in front of a church
where some of the body was recovered 19 RR 127. There was a large blood stain at the
entrance of the logging road 19 RR 128.

Ginny Simms, another FBI technician received much of the evidence from Agent
Ganaway, and sent it to the FBI lab in Washington, D.C. 19 RR 137-38.

Joan Pace, an employee of Christus Jasper Memorial Hospital, took blood samples
from the three defendants King, Brewer, and Berry and gave them to Det. Frame 19 RR
143-7. Pat Dietz, an FBI agent transported the blood samples from Det. Frame to the FBI
lab in Washington, D.C.. 19 RR 150-52. Lucy Restivo, an FBI agent in Beaumont
received the blood samples from Agent Dietz, and packaged it for Federal Express delivery
to the FBI lab in Washington, D.C. 19 RR 157-58. Some clothing and tire tracks were also
sent to Washington, D.C. 19 RR 159, 161.

Richard Skinner, an administrator for the Jefferson County Morgue, drew blood

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samples from the victim, James Byrd, Jr. 19 RR 164, Robert Fortune, an FBI agent
received the blood samples from Mr. Skinner and handed them to agent Sutton who was
flying to Washington, D.C. 19 RR 167-68, Mike Sutton, an FBI agent transported
evidence from Jasper to Houston. 19 RR 169-70. He personally accompanied five large
boxes of evidence when they were flown to Washington, D.C. 19 RR 171. He also received
blood, bile and urine samples of the victim from agent Fortune 19 RR 173. This was
unusual treatment of the evidence 19 RR 175.

Larry Pulliam, testified he was a Jasper County deputy sheriff at the time of the
crime, and several days after the murder, received a call from a Mr. Chenyworth at the Jasper
Twin Cinema. 19 RR 179, 185. Behind the movie screen Pulliam found a car tire and rim
and some cases of beer. 19 RR 180. Shawn Berry was the manager of the cinema. 19 RR
182.

Carrie Orien, a forensic examiner in the trace evidence unit of the FBI lab in
Washington, D.C., testified that he received the evidence that was sent Federal Express from
Houston, and also the items personally transported by agent Sutton, 19 RR 199. Orien
testified that the shoes of the victim had a fiber on them that was similar in composition and
makeup to that of the floor mat in Berry’s truck. 19 RR 204-08. Other carpet samples that
were submitted, such as from the Jasper Twin Cinema and the victim’s apartment were
excluded as possible sources of the fibers 19 RR 209. The fibers on the victim’s shoes did
not match the lining of the truck or the carpet at the victim’s apartment 19 RR 214.

Sandra Wersema, an FBI forensic examiner, testified she has experience in footwear

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and shoe print identification 19 RR 218. She testified that two cast impressions of tire
tracks taken from the logging road matched the two rear tires of Berry’s vehicle 19 RR 224-
25. Another cast made from near a cemetery where the body of the victim was found
corresponded in tread design and tread dimension to a Versa Trac tire from Berry’s truck.
19 RR 226. Another photo from an impression made near Tommy Faulk’s house matched
the Defender SRX+4 tire recovered from Berry’s vehicle 19 RR 230. Other photographs
of tire tracks taken from the crime scene matched the tires from the truck. 19 RR 231-232.

Wersema testified that there are over 1400 different designs of passenger car and
pickup truck tires 19 RR 23 2. The witness’ opinion was that Berry’s truck was on Huff
Creek Road and the logging road and made the impressions as there were four different
designs that matched those on the truck. 19 RR 233.

She also testified that she took impressions from two different pairs of Rugged
Outback sandals, one size 10 and one size 9 and a half. 19 RR 235. She testified that either
one of the sandals could have made the impression in the sand at the crime scene 19 RR
236-37. She had no idea how many tires or sandals of the brands in question Were
manufactured 19 RR 23 9-40.

Tommy Faulk, a beekeeper who was friends with King and Berry, and who had
known Brewer for a few weeks testified that on June 5, 1998, the three defendants were at
his house partying. 19 RR 243. The trio spent the night at Faulk’s house 19 RR 243-44.
On the afternoon or evening of Saturday, June 6, 1998, King and Brewer were at a barbeque

in Burkeville With Faulk, Faulk’s sister, and other individuals 19 RR 244-45. King

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allegedly became angry because a black friend of Faulk’s Doyle Grace, showed up at the
gathering 19 RR 245. King and Brewer left in King’s girlfriend’s car. 19 RR 245. The last
time Faulk saw King on Saturday was about 3PM on June 6. 19 RR 246. He saw King at
about 5 or 6PM on June 711‘, when they pulled up to the side of his trailer. 19 RR 247. King
was with Brewer, and they talked about ten minutes 19 RR 248. The woods were about 50
feet from Faulk’s trailer. 19 RR 249.

Faulk had known King for about 15 years but the first time King began expressing
racial views was after he was released nom prison 19 RR 250, He didn’t have these
feelings before he went to prison 19 RR 252. King showed him the tattoo of the “hanging
black man.” 19 RR 250. This witness was never asked about joining the Confederate
Krrights of America. 19 RR 257. According to this witness King may have had some
problems with blacks when he was sixteen years old. 19 RR 261.

The next day, some police officers searched the house, and found a large chain in a
hole in the Woods behind his house 19 RR 251. The hole was used in playing paint ball,
and King and others had played this game with Faulk, 19 RR 260, 263-64.

Norm Townsend, an FBI agent testified that he searched the area near Mr. Faulk’s
trailer on June 8, 1998, 19 RR 266. Shawn Berry directed the officers to a location behind
the trailer Where there was a depression in the ground, and underneath some plywood, there
was a logging chain 19 RR 267-68.

Gregory Bishea, Ph. D, a forensic expert with the FBI in Washington, D.C., testified

that one of the tires had a liquid inside it that may have been “fix a flat” similar to the can

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found at the crime scene 19 RR 273. One of the victim’s shirts may have had some paint
from a spray paint can of black paint that was also found at the scene 19 RR 274-75. The
materials were consistent but the witness could not say beyond a reasonable doubt that they
were a match. 19 RR 278.

Frank Samuel Baechtel, Ph. D., a forensic examiner in the DNA analysis unit of the
FBI laboratory, was tendered as an expert in the field of forensic serology or forensic DNA
profiling. 20 RR 7.34 Baechtel testified that two tests are used for DNA: RFLP and PCR.
20 RR 11. The RFLP method has the greatest ability to distinguish one person from another
through their DNA but it requires a substantial amount of non-degraded DNA. 20 RR 11.
PCR-based testing has more limited power to distinguish one person from another but it
requires much less material and a lower degree of degradation 20 RR 12. PCR-based
testing was used in this case 20 RR 13.

Dr. Baechtel received three vials of blood labeled Bill King, Shawn Berry, and Russell
Brewer. 20 RR 19. A stain on a Polo boot found in the suspect’s apartment matched the
DNA profile of J ames Byrd and a test on a stain on the other boot was inconclusive 20 RR
21-22. A stain on one of the Outback sandals, State’s exhibit 45, matched that of J ames

Byrd 20 RR 23.35 Tests on the other sandal were inconclusive 20 RR 23. The stain that

 

34 This was the first time any witness had been so qualified as an expert in this trial.

33 As noted earlier in FBI agent Brewer’s testimony, State’s exhibit 45 were size 10

sandals. 18 RR 61. However, it was determined that King’s shoe size was nine and a half, and
similar-brand size nine and a half sandals were also found in the apartment (State’s exhibit 55
and 56). 18 RR 61. FBI agent Brewer earlier testified that King’s shoe size was nine and a half
and Berry’s was a size nine 18 RR 111, 127. Brewer was a size seven. 18 RR 112. Lewis

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matched was found on the top of the strap that comes across the foot 20 RR 24. Tests were
also done on some Nike tennis shoes found in the apartment and there was also a match for
the victim’ s DNA. 20 RR 24-25. The probability of finding someone at random in the black
population that would match the DNA found on the sandal and tennis shoes was one in 5700. '
20 RR 25. The victim’s blood also matched stains found on Polo jeans and on a shirt 20 RR
27. There were DNA patterns for more than one person on the cigarette butts found at the
scene of the crime 20 RR 27. As to one butt the maj or contributor was Berry and the minor
contributor was not Brewer, King or Byrd 20 RR 28. As to the other cigarette butt State’s
exhibit 412, King is the maj or contributor, and Byrd cannot be excluded as a minor
contributor but could also not be so confirmed 20 RR 28. One Way this could have
happened is if one person smoked the cigarette and another person took a puff off it 20 RR
44-45. Another cigarette butt matches Brewer’s DNA. 20 RR 30. The probabilities of
finding a Caucasian with the same DNA as the defendants’ profiles ranged from one in
3500 to one in 7 800, with the exception of Berry’s cigarette butt match, which was one in
24,000. 20 RR 30-31. DNA from the beer bottle found at the scene of the crime matched
Brewer’s DNA. 20 RR 33. Swabs taken from the Huff Creek Road matched the victim’s
blood. 20 RR 33. Blood samples taken from underneath the truck matched the victim’s to
a probability of one in 300,000. 20 RR 34. Blood from one of the rear tires and a tire in the

truck matched that of Byrd to one chance in 5700. 20 RR 35-36. No blood or human tissue

 

Berry, who frequented the apartment and had clothing there, was a size ten 18 RR 124, 131.
The size 10 sandals with the victim’s blood on them, the major incriminating evidence against
the petitioner, Were not even King’s size, and this was never challenged by the defense

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were found on the chain 20 RR 49.

The DNA on a cigarette could last a long time without degrading to where it could not
be matched 20 RR 45-47. There are new testing procedures that are more accurate than
those used in this case 20 RR 50-51.

ln all, King’s DNA was found on only two items of all the evidence submitted: a
cigarette butt which contained King ’ s primary and possibly Byrd’ s DNA, and a sandal which
matched Byrd’s blood 20 RR 55.36 That amount of blood was a sixteenth of an inch wide
20 RR 56`-57.

Abdul Rashid, worked at a convenience store, the Shop N Carry, near the Cedar Tree
Restaurant. 20 RR 58. On the day before Byrd was murdered, King, Brewer and Lewis
Berry were in the store 20 RR 59. A week before the murder, Lewis was driving a red
Cherokee and he and Brewer carrie into the store along with a girl. 20 RR 59. Rashid asked
King if Brewer was his brother and before King could reply, Brewer called Rashid a
motherfucker and said “We have some tattoos.” 20 RR 60. Brewer was very drunk and King
was helping him take his money out of his pocket 20 RR 60. They bought some Marlboro
cigarettes and they said they were going to Galveston for a party. 20 RR 61.

On the Saturday night King Was killed, about 9 or 10 PM, King carrie in again 20 RR

 

36 The defense never told the jury that the sandal on which the blood stain was found
Was size ten (Exhibit 45) whereas King had a size nine and a half shoe size and the victim’s
DNA was not on those sandals. (see previous footnote). Nor was the cigarette with King’s DNA
on it ever conclusively found to have the victim’s DNA on it and it is undisputed that King rode
in the truck, and thus could have left cigarettes in the ashtray that were later spilled at the so-
called “fight scene” King was known to smoke in Berry’s truck. See, e.g., 20 RR 164. Thus
neither piece of evidence places petitioner at the scene of the crime

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62. He was walking and asked for a pack of cigarettes 20 RR 62. Rashid asked him about
the party in Galveston, and they talked about five minutes and then King left after buying a
box of Marlboro Red cigarettes 20 RR 62-63.

Lewis Berry, Shawn Berry’s brother, came in the store “all the time” 20 RR 64.
Rashid had earlier given an affidavit that stated the Marlboro cigarettes Were bought on J urie
26, 1998, 20 RR 65. King was always nice to Rashid when he carrie into the store 20 RR
68,

Christina Smith, age 17, testified that she worked at the Jasper Twin Cinema in the
summer of 1998, 20 RR 70. Shawn Berry was the manager of the cinema and he ran it on
the weekends 20 RR 71. On the night of the murder, Smith was Working at the cinema with
Shawn Berry, and she arrived at work around 6 PM and left around midnight 20 RR 72.
Shawn Berry left around 7:30 PM that night and said he was going to Newton to pick up his
girlfriend Christie, her baby Montana, and Bill King’s girlfriend Kylie 20 RR 73. Shawn
Berry returned with them around 8:30 PM. 20 RR 74._ They stayed to watch the movie, and
it was over around 10:50 PM. 20 RR 74. Christie, Kylie and baby Montana left in Berry’s
car, and Shawn stayed at the theater. 20 RR 75.

Around 12: 15 AM Smith and Shawn Berry were closing down the movie and asked
if Smith could take him home, as he didn’t have a car. 20 RR 76. Smith dropped him off at
his apartment around 12:30 AM. Shawn Berry Was wearing Polo boots Polo jeans and a
long blue sleeve jean denim shirt similar to the items in evidence 20 RR 77 .

The next day, she arrived for work at the movie at around 6PM and King, Kylie, and

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Brewer were at the theater. 20 RR 7 9. The truck was in the parking lot jacked up, and King
said Shawn Berry had gone to get a tire for the truck. 20 RR 79. About five minutes later,
Shawn Berry arrived at the theater with Christie 20 RR 81. They changed the tire and then
Shawn left in the truck to take King and Russell Brewer to the apartment 20 RR 81. Shawn
Berry left the theater about 7 PM with King and Brewer. 20 RR 82. They came back around
8 PM and then Lewis Berry and his girlfriend Courtney Miller arrived at the theater. 20 RR
83. King and lBrewer left with Miller and Lewis Berry. 20 RR 83. Shawn Berry was
arrested about 8:45 PM in the parking lot across from the theater. 20 RR 83.

According to Ms. Smith, Shawn Berry was the one Who drove the truck the most 20
RR 84. Smith had never heard King talk bad about black people and he was always polite
20 RR 85-86. Shawn Berry smoked Marlboro Lights and his girlfriend was Christie
Marcontell. 20 RR 86.

Heather Hough, age 16, testified she lived in Roganville, Texas and met King four
or five times at the movie theater in Jasper. 20 RR 114. According to Hough, King showed
her his tattoo and said “See my little nigger man hanging from a tree.” 20 RR 115. Shawn
Berry introduced her to King. 20 RR 116.

Judith Lee Hancock, a reporter for the Dallas Morning News testified she received
a letter from King dated November 12, 1998. 20 RR 119. In the letter, he wrote that Shawn
Berry had inherited a small tract of land adjacent to the “tram road” which he (Berry) visited
frequently. 20 RR 120. King states that he, along with Russell Brewer and Lewis Berry had

borrowed Shawn Berry’s truck to commute to an out-of-town land clearing job every day.

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20 RR 120. King Wrote that his cigarette lighter had been misplaced a week or so before his
arrest 20 RR121.

In the letter, King gave his version of what happened that night He said they had
been drinking beer while riding up and down rural roads adjacent to Highway 255 off
Highway 63 , looking for a woman’s house, and Berry began to run over mailboxes and stop
signs due to his negligence in driving 20 RR 122. Berry drove erratically and took a chain
from the back of the truck and wrapped it around a mailbox and dragged it. 20 RR 122.
While driving home, they passed a black man whom Shawn Berry recognized as someone
he had befriended in the Jasper County Jail and whom he identified as “Byrd.” 20 RR 123.
According to Berry, Byrd had supplied him with steroids 20 RR 123. Berry stopped the
truck, approached the man and said Byrd was going to join them as he had business with
hirn, and Byrd climbed into the back of the truck. 20 RR 123. They went to a convenience
store and Shawn Berry asked to borrow money from Brewer. 20 RR 124. Berry asked if
King and Brewer could sit in the back of the truck so that he could discuss the purchase of
more steroids nom Byrd, 20 RR 124. Once they arrived, Shawn Berry informed King and
Brewer that he was leaving so that he could take Byrd to get the steroids 20 RR 125.
Brewer and King filled a small cooler with six or eight beers for Berry and Byrd, and then
King went to the truck to retrieve his wallet and cigarettes 20 RR 125. He was unable to
find his cigarettes and went back to the apartment to call his ex-girlfriend. 20 RR 125.

Lewis Berry, age 25, and brother of Shawn Berry, testified he worked in Jasper for

Nolan Field Services. 20 RR 128. He met King through Tommy Faulk and socialized with

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him. 20 RR 128. He also lived at the Timbers Apartrnents with King and his brother. 20
RR 128. At the time of the murder, Lewis his brother Shawn, and King were living in the
apartment and Brewer was visiting 20 RR 129.

A few days before the murder, Lewis Berry Went into the woods with King and
Brewer to clear some land 20 RR 129. They worked on the job for three days 20 RR 130.
A tire had a puncture and they changed it with one that was in the back of Shawn Berry’s
truck. 20 RR 131. The chain was used to pull out trees or stumps 20 RR 132. The
replacement tire was not full and he used some “Fix A Flat” on it 20 RR 132.

The apartment was shared by all three or four of them. 20 RR 134. The bedroom was
King’s 20 RR 134. Lewis had some things in a closet 20 RR 135. The Polo boots were
Shawn’s. The sandals belonged to King and Shawn Berry, 20 RR 135. They were just alike
but half a size different 20 RR 136. The white shoes with “L.B.” on them were Brewer’s.
20 RR 136. Lewis Berry testified that he owned only one pair of sandals the ones he
brought to trial. 20 RR 136,37 Exhibit 44 and 45, the size ten sandals, would “probably” be
King’s 20 RR 136-37. Exhibit 55 and 56, the size nine and a half sandals, would be Shawn
Berry’s 20 RR 137 . The sandals were bought at the same time by Shawn Berry and Bill
King 20 RR 137 . The white shoes with “L.B.” on them were not Lewis Berry’s. 20 RR

137 . Lewis Berry testified he wears between a ten and a half and an eleven size shoe 20

 

37 This assertion was not challenged by the defense

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RR 138.38 He could not fit his foot into the white shoes 20 RR 138.39 Lawrence Brewer
wore those shoes 20 RR 138.

The day before the murder, Lewis Berry Was hanging around Jasper with his girlfriend
and then he Went to a friend’s house in Burkeville 20 RR 139. The friend was a black man
named Gracie 20 RR 140. King and Lawrence Russell Brewer came to the house but didn’t
come in 20 RR 141. They didn’t want to come in to a black person’s house, and they got
mad and left 20 RR 141. King and Brewer’s attitude upset Lewis and he left and went to
King’s apartment to talk to him. 20 RR 142. When Lewis arrived, Brewer and Patrick
Viator were there 20 RR 142, Lewis and King got into an argument about the incident at
Burkeville 20 RR 143. King did not Want to be around black people 20 RR 143. He
would put down black people and Lewis had seen King’s tattoos including one of a black
man hanging from a tree, Which he called “My little hanging nigger.” 20 RR 144.

King told Lewis he was going to have to leave, and so he and his girlfriend Courtney
left With Patrick Viator who asked for a ride to Tommy Faulk’s house Viator was dropped
off at Faulk’ s house and Courtney and Lewis rode around for awhile Around midnight they
went back to Faulk’s house and sat in the parking lot and then around 1 AM he went in to
Faulk’s house 20 RR 146. Faulk was not there but he called from Burkeville around 1 AM

or 2 AM to make sure there wasn’t aparty going on at his place 20 RR 146. Patrick Viator

 

33 But earlier, FBI agent Brewer had testified that “we took a picture of Mr. Berry’s foot
Lewis Berry’s foot lt was a size 10. This picture shows a size ten foot..” 18 RR 124.
Incredibly, Mr. King’s attorneys never brought out this discrepancy

39 Not surprisingly, since Brewer was a size seven 18 RR 112.

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was also at the house and Lewis fell asleep on the couch while watching TV. 20 RR 147 .

Lewis Berry woke up the next day; his girlfriend showed up and he left around noon
20 RR 147. Lewis stated he remembered the cigarette lighter with “Possum” on it from that
Saturday before the murder at King’s apartment 20 RR 148. lt was lost a week or so prior
to the murder but it Was found and returned to King by Russell Brewer. 20 RR 149. King
had it on that Saturday. 20 RR 149.

Lewis saw King on Sunday when he went by the movie theater. 20 RR 151. Lewis
went out to the lake and then asked Shawn Berry and King and Brewer if theywanted to play
volleyball and they did 20 RR 151. They went to Mott and Diane Hough’s house in
Roganville and played volleyball. 20 RR 152. King seemed normal, maybe a little quieter
than usual. 20 RR 161. Brewer did not play as his foot sore 20 RR 152.

Lewis testified he had never been convicted of a felony but had been charged with
public intoxication 20 RR 153. He stated that hen has black friends and that he is not a
member of a racial organization 20 RR 154. Lewis did not know that his brother Shawn
was buying steroids although Shawn was interested in weight lifting 20 RR 154. Lewis
denied any involvement in the murder. 20 RR 156.

Lewis denied that he owned any property in the Huff Creek Road area, but his sister
does 20 RR 162. Shawn Berry was familiar with the logging road 20 RR 163.

King never talked to him about joining the Confederate Knights of America or any
other racist organization nor did he hear King try to convince anyone else to join 20 RR

164, King was known to smoke in Berry’s truck. 20 RR 164. King’s attitude was different

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